
TurNEY, J.,
delivered the opinion of the court.
A party to a suit in his own right, or in his representative capacity, is not entitled to claim and receive compensation for his attendance and examination as a witness, nor to have taxed to his adversary such costs as have accrued by reason of the issuance and service of subpoena upon him in the cause.
The law makes it his duty, and he is conclusively presumed to be present at the taking of the testimony and the trial.
If he is an administrator or executor, he, by accepting such trust, imposes upon himself the duty of looking after and attending to the business, litigated and unlitigated, of his testator or intestate, for all which he is compensated in an allowance by the proper tribunal.
The motion to retax the costs in this case must prevail.
